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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                 4:09CR3031
                                         )
             v.                          )
                                         )
MICHAEL KONING, LOWELL                   )      MEMORANDUM AND ORDER
BAISDEN, SUSAN BAISDEN-                  )
KONING,                                  )
                                         )
                    Defendants.          )



       Defendant Michael Koning has filed a Motion for Disclosure of Rule 6(e)(3)
Materials, (filing no. 26), and a Motion for Return and Destruction of Inadvertently
Disclosed Documents protected by the attorney/client privilege, (filing no. 27). The
government requests a thirty-day continuance of its response deadline, stating it needs
additional time to accumulate the facts and perform the legal research for preparing
an adequate and thorough response. Filing No. 32. The defendants are preparing
to file additional pretrial motions, their trial will not be delayed by granting the
government’s request, and counsel for defendant Michael Koning therefore does not
oppose the government’s motion to continue. Accordingly,

      IT IS ORDERED that the government’s motion to continue, (filing no. 32), is
granted, and the government’s response to defendant Michael Koning’s Motion for
Disclosure of Rule 6(e)(3) Materials, and Motion for Return and Destruction of
Inadvertently Disclosed Documents shall be filed on or before August 20, 2009.

      DATED this 20th day of July, 2009.

                                        BY THE COURT:
                                        Richard G. Kopf
                                        United States District Judge
